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                EXHIBIT
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                              )
 MAKE THE ROAD STATES, INC.,                  )                 No. 2:25-cv-02938
 NAACP BUCKS COUNTY BRANCH                    )
 2253, BUXMONT UNITARIAN                      )
 UNIVERSALIST FELLOWSHIP,                     )
 and JUAN NAVIA,                              )
                                              )
           Plaintiffs,                        )
                                              )
           v.                                 )
                                              )
 FREDERICK A. HARRAN,                         )
 individually and in his official             )
 capacity as Sheriff of Bucks County,         )
 and BUCKS COUNTY,                            )
                                              )
                    Defendants.               )

                   DECLARATION OF KEITH ARMSTRONG
          IN SUPPORT OF PETITION FOR AWARD OF ATTORNEY’S FEES

       I, Keith Armstrong, am one of the attorneys of record for the plaintiffs in the above-

captioned case. I make the following declaration upon my personal knowledge:

1.     This declaration is submitted in support of Plaintiffs’ Petition for Attorneys’ Fees.

2.     I am a Fellowship Attorney – Immigrants’ Rights, at the ACLU of Pennsylvania, where I

       have worked as an attorney since October 2023. I previously served as a legal fellow and

       then Staff Attorney in the federal litigation unit at RAICES, a Texas-based immigrants’

       rights organization, from September 2021 to October 2023.

3.     I graduated from the Northwestern University Pritzker School of Law cum laude in 2021

       and earned my undergraduate degree from Macalester College.

4.     I certify that the attached time sheets, which are incorporated by reference, were prepared

       contemporaneously and maintained in the ordinary course of business.


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5.    The hours we have billed in this case are fair and reasonable and were necessarily

      incurred in the successful prosecution of this case.

6.    Only the time spent on this case that could reasonably be billed to a private client has

      been included.

7.    Based on my experience and standing in the bar, I believe that the requested rate of $315

      per hour is fair and reflects the prevailing community rate for civil rights lawyers of

      comparable skill and experience.

8.    I am currently admitted to practice in Pennsylvania and Illinois; in the United States

      District Courts for the Eastern, Middle, and Western Districts of Pennsylvania; the United

      States District Court for the Western District of Texas; and before the Fifth Circuit Court

      of Appeals.

9.    I am a salaried employee of the ACLU of Pennsylvania, a nonprofit, nonpartisan

      organization dedicated to defending and protecting our individual rights and personal

      freedoms. We do not charge our clients, and have not done so in this case.

      Consequently, I am subject to the “community market rate rule” for determining my fee

      rate.

10.   My hourly rate of $315 per hour reflects the community market rate for attorneys of

      comparable skill and experience. This rate is based on knowledge of rates charged by

      legal nonprofits in Philadelphia with similar levels of experience and educational

      backgrounds.

11.   My total billable hours for the U.S. District Court proceedings in this case are 5.7. The

      total amount (lodestar), as calculated by multiplying the hours times the prevailing billing

      rate of $315, is $1,795.50.



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12.    For the foregoing reasons, I believe that my requested hourly rate of $315 is fair,

       reasonable, and well within the scope of rates given to federal court litigators with similar

       experience, skill, and standing in the Philadelphia legal community.


I declare under penalty of perjury that the foregoing is true and correct.




Dated: July 2, 2025                                     Respectfully submitted,

                                              By: /s/ Keith Armstrong

                                                      Keith Armstrong (Pa. No. 334758)
                                                      AMERICAN CIVIL LIBERTIES UNION
                                                      OF PENNSYLVANIA
                                                      P.O. Box 60173
                                                      Philadelphia, PA 19102
                                                      215-259-8173
                                                      karmstrong@aclupa.org




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Make the Road v. Harran – Keith Armstrong Attorney Time - E.D. Pa.
Hourly Rate = $315

 Date       Description                                           Time        Amount
 06/09/2025 Review, annotate, and conduct preliminary research           1.10 $ 346.50
            on Defendants’ Notice of Removal

 06/10/2025 Review and digest amended notice of removal; draft           0.60   $    189.00
            strategy email to legal team

 06/11/2025 Legal Team Discussion regarding Remand Motion                0.30    $     94.50
            strategy

 06/11/2025 Proposal regarding seeking fees on remand motion             0.10    $     31.50

 06/12/2025 Review and finalize Entry of Appearance to the               0.30    $     94.50
            Eastern District of Pennsylvania
 06/13/2025 Discussion regarding Briefing Schedule for remand            0.50   $    157.50
            motion
 06/16/2025 Status Conference Before Judge Sanchez                       0.50   $    157.50

 06/16/2025 Debrief with Legal team after Status Conference              0.50   $    157.50

 06/18/2025 Strategy calls with legal ream regarding the Remand          1.30   $    409.50
            and Temporary Restraining Order

 06/26/2025 Review, annotate, and commence research on Notice            0.40   $    126.00
            of USA Potential Participation
 06/27/2025 Draft internal email regarding scheduling of                 0.10    $     31.50
            Response to Sheriff’s Association Intervention
            Motion

 TOTAL                                                                   5.70   $ 1,795.50




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